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                       IN THE LINITED STATES DISTRICT COURT
                       FOR THE NORTFIERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

LINITED STATES OF AMERICA

V                                                  No. 4:22-cR-=5b-O

DANIEL LOYOLA, JR. (01)

                                     FACTUAL RESUME

I.       Plea:
         Count One: Possession of a Machinegun, in violation of 18 U.S.C. $ 922(o) and
         s e2a@)Q).

II.      Penalties:
         The penalties the Court can impose include:

         a.      imprisonment for a period not to exceed ten (10) years;
         b.      a fine not to exceed $250,000;
         c.      a term of supervised release not to exceed three (3) years, which may be
                 mandatory under the law and will follow any term of imprisonment. If the
                 defendant violates any condition of supervised release, the Court may
                 revoke such release term and require that the defendant serve an additional
                 period of confinement;
         d.      a mandatory special assessment of $100;
         e.      forfeiture of firearms and ammunition; and
         f.      costs of incarceration and supervision.

m        Elements of the Offense:
         The elements the government must prove beyond a reasonable doubt to establish
         the offense alleged in Count One of the Superseding Indictment are:

         First:         That the defendant knowingly possessed a machinegun;

         Second:        That the defendant knew of the characteristics of the weapon that
                        made it a machinegun, namely, that it was a weapon that can shoot,
                        automatically more than one shot, without manual reloading, by a
                        single function of the trigger.




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IV.    Stipulated Facts:
       On or about October 25, 2022, in the Fort Worth Division of the Northem
District of Texas, defendant Daniel Loyola, Jr., did knowingly possess a
machinegun and knew that the firearm was a machinegun that fired in fully-
automatic fashion. Specifically, Loyola possessed a Saco Defense Inc., model M60
E3,7.62mm machinegun: bearing serial number 233945.




AGREED AND STIPULATED on this         l+t au, or
D^nUt l*tob
DANIEL LOfOLA, JR.
                       k                             A
Defendant                                             for Defendant




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